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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION




UNITED STATES OF AMERICA,              )             CASE NO. 06-145
                                       )
           Plaintiff,                  )
                                       )
                                       )
           - vs -                      )
                                       )    O R D E R Granting Motion to Continue Trial
                                             Date Pursuant to 18 U.S.C §3161
    Roy Moore                          )
                                       )
           Defendant.                  )




    This matter is before the Court on Defendant’s Motion to Continue Trial Date.

    Based upon the information provided by Defendant in his motion and oral confirmation

 by the U.S. Marshal’s Office, the motion is GRANTED.

    Trial is set for July 25, 2006. On July 19, 2006 Defendant filed a Motion to Continue

 Trial Date because of physical inability to attend. Defendant was admitted to the hospital

 on July 15, 2006 for an infection, was released on July 19, 2006, but needs two weeks of

 antibiotics via an IV port. Defendant will remain in Summit County Jail to receive his

 medical treatment.



    18U.S.C. §3161, the Speedy Trial Statute, excludes from any calculation, pursuant to

 (B)(4): Any period of delay resulting from the fact that the defendant is mentally

 incompetent or physically unable to stand trial.(Emphasis added).



    Defendant’s physical illness and inability to physically stand trial on July 25, 2006

 necessitates this court granting the continuance; such action outweighs the best interest
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 of the public and the defendant in a speedy trial.



           .

           IT IS SO ORDERED.



                                              _s/ Christopher A. Boyko
                                              HONORABLE CHRISTOPHER A. BOYKO
                                              UNITED STATES DISTRICT JUDGE
